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                                              EXHIBIT A

 Date          Representation                                                    Speaker       Hearer

 Mar. ‘19 ‘[T]he Facility would be able to run a wide range of                   Obluda        TXIT and
          crude.” FAC ¶16.                                                                     GCC

 Nov. ’18 Sent yield summary tables evaluating results of                        Obluda        TXIT and
 to       different crudes run through a simulation model.                                     GCC
 Jan. ‘19 FAC ¶15.

 Mar.          “[W]ith a certain blend, the Facility would be able   Obluda                    GCC
 ‘19 11        to achieve a throughput of up to [65,000] barrels per
               day.” FAC ¶74.

 Mar. ‘19 Polaris “did not see any individual crude that would                   Obluda        GCC
          be completely precluded from the Facility,” that the
          unit should be able to run the majority of crudes
          needed with certain specified exceptions, and that
          there are not real limitations on specific crudes.
          FAC ¶74.

 Sept. ‘19 Sent “additional yield tables representing several                    Obluda        TXIT and
 Oct. ‘19 possible crudes that could be run through the unit                                   GCC
 Jan. ‘20 Polaris designed and the expected yields that would
           result.” FAC ¶23.

 May ‘20       Certificate of Mechanical Completion certifying                   Nodier        TXIT
               that Polaris had mechanically completed work in
               accordance with the ISBL Agreement. FAC ¶75.

 Summer        Desalter would function properly when processing                  Nodier        TXIT and
 2020          crude within the range. FAC ¶75.                                                GCC

 Mar. ‘19 Simulations of crude “that could run through the                       Nodier        TXIT
          Facility … may be of value to TXIT.” FAC ¶73.




 Paragraph 74 continues with the timing mentioned in Paragraph 73—“before and after the execution of the ISBL
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Agreement,” or “in March 2019.” This is the time when both of the alleged statements by Obluda in Paragraph 74
were made.


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